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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


ROBERT DAVID STEELE                         )
                                            )
-and-                                       )
                                            )
EARTH INTELLIGENCE NETWORK                  )
                                            )
        Plaintiffs,                         )
                                            )
                                                                      1:20-cv-1140
v.                                          )              Case No.
                                            )
                                            )              PLAINTIFFS DEMAND
JASON GOODMAN                               )              TRIAL BY JURY
                                            )
        Defendant.                          )
                                            )


                                 COMPLAINT
        Plaintiffs, Robert David Steele and Earth Intelligence Network, by counsel, file

the following Complaint against Defendant, Jason Goodman (“Goodman”).

        Plaintiffs seek (a) compensatory damages, statutory damages (three-fold the

damages sustained), and punitive damages, (b) prejudgment interest on the principal sum

awarded by the Jury from June 15, 2017 to the date of Judgment at the rate of six percent

(6%) per year pursuant to § 8.01-382 of the Virginia Code (1950), as amended (the

“Code”), (c) reasonable attorney’s fees pursuant to § 18.2-500 of the Code, and (d) costs

incurred – arising out of Defendants’ defamation, insulting words, business conspiracy,

common-law conspiracy, and unauthorized use of name and picture in violation of §

8.01-40 of the Code.




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                                 I. INTRODUCTION

       1.      This case involves the use of social media – principally YouTube – to

defame, insult, harass, and inflict injury. Between June 2017 and the present, Goodman

spearheaded a social media campaign to defame Plaintiffs and destroy their business and

reputations. Acting in concert with Susan Holmes a/k/a Susan A. Lutzke (“Holmes”),1

Patricia A. Negron (“Negron”) and others, Goodman published over fifty (50) videos in

which he falsely accused Plaintiffs of crimes and otherwise held Plaintiffs up to scorn,

ridicule and contempt. These videos (identified below), which Goodman continues to

upload to YouTube, were and are calculated to render Plaintiffs odious, infamous and

ridiculous.

       2.      Plaintiffs seek to recover presumed damages and actual damages,

including loss and injury to their business and reputations, and compensation for the

insult, embarrassment, humiliation, pain and mental suffering inflicted on them as a result

of Goodman’s wrongful conduct.

                                     II. PARTIES

       3.      Plaintiff, Robert David Steele (“Robert”), is a citizen of Virginia. He lives

in Oakton, Virginia. He is 67 years-old. From 1975 to 1979, Robert served in the United

States Marine Corps as an officer variously assigned to infantry, intelligence and

security/personnel duties in Asia and the United States. Following his service as a

Marine, Robert remained in the Marine Forces Reserve until 1996 as an adjunct faculty


       1
                In videos at issue in this case, Goodman and Holmes hid Holmes’ identity
behind an online effigy that Goodman referred to as “Queen Tut”. Goodman created the
moniker “Queen Tut” based on the name of Holmes’s email server “Tutanota.com”. The
effigy is actually that of Queen Nefertiti. Neferneferuaten (Nefertiti) (c. 1370 – c. 1330
BC) was an Egyptian Queen and the Great Royal Wife (chief consort) of Akhenaten, an
Egyptian Pharaoh.


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member at Marine Corps University and developer of the Marine Corps Master

Intelligence Plan, ultimately attaining the rank of Major. In 1979, he joined the Central

Intelligence Agency (“CIA”) as an operations officer. As a CIA operations officer,

Robert obtained a Top-Secret Security Clearance. Robert resigned from the CIA in 1988

to accept an invitation from the Marine Corps to establish the Marine Corps Intelligence

Center as a GM-14 civil servant, where he remained until 1993. In 1993, Robert formed

Open Source Solutions, Inc., a pioneering open source intelligence (“OSINT”) firm.

OSINT is a term used to refer to data collected from publicly available sources to be used

in an intelligence context. In the intelligence community, the term “open” refers to overt,

publicly available sources (as opposed to covert or clandestine sources). Robert was

Chief Executive Officer of Open Source Solutions. For over twenty (20) years, Robert

has dedicated himself to teaching individuals and organizations about the value of open

source intelligence, holistic analytics, and true cost economics and open source

engineering. Robert’s education, experience, and publications, awards and recognitions

are catalogued on his websites, http://robertdavidsteele.com/ and https://phibetaiota.net/.

Robert’s work has been universally commended.          In January 2017, because of his

leadership in redirecting the craft of intelligence away from spies and secrecy enabling

war and waste towards open sources and methods favorable to peace and prosperity,

Robert was nominated for a Nobel Peace Prize. The full text and active links to the

nomination were published at the request of Jan Helge Havlik (“Havlik”), Editor-in-Chief

of Defence and Intelligence Norway, and are/were at all times available on Robert’s

website.    [https://phibetaiota.net/2017/01/nomination-for-the-nobel-peace-prize-robert-

david-steele/;   https://phibetaiota.net/2017/02/jan-h-kalvik-intelligence-the-nobel-prize-




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recommendation-of-robert-david-steele-for-information-peacekeeping-peacekeeping-

intelligence/].    Robert is especially proud of the NATO Open Source Intelligence

Handbook, published in 2001. Robert wrote over 85% of the Handbook. In a preface to

the Handbook, General W. F. Kernan, General, U.S. Army (“General Kernan”),

acknowledged that the publication “has benefited greatly from the continued

collaboration between my staff and the staff of Open Source Solutions Inc. [i.e., Robert]”.

[https://phibetaiota.net/wp-content/uploads/2009/07/NATO-OSINT-Handbook1.pdf].2

Until publication and republication of Goodman’s videos, tweets, emails and other

statements at issue in this action, Robert enjoyed an untarnished reputation.

        4.        Plaintiff, Earth Intelligence Network, is a Virginia not-for-profit, 501(c)(3)

corporation founded by Robert in 2006 (Virginia State Corporation Commission ID #

0670760-8) (Federal EIN # 20-828XXXX). One of Earth Intelligence Network’s projects

is called “#UNRIG”. #UNRIG is an educational campaign to communicate to all citizens

the possibility of an ethical, legal, non-violent restoration of integrity to the United States

Government. Between 2017 and 2019, Earth Intelligence Network’s operations and

#UNRIG’s campaign were funded by public donations. Earth Intelligence Network is

fully transparent and accountable to its donors. All funds raised for the #UNRIG national

tour are fully accounted for at the Budget Page published on the website of for the

#UNRIG project, https://www.unrig.net/. In June 2017, the core team members of the

Earth Intelligence Network were Robert and Dr. Cynthia Ann McKinney (“Dr.




        2
               Goodman visited and reviewed the contents of Robert’s websites prior to
publishing the false statements at issue in this case. Goodman knew that Robert had been
nominated for a Nobel Peace Prize and that he was the primary author of the NATO
OSINT Handbook.


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McKinney”).     Dr. McKinney is first black woman to be elected to Congress from

Georgia. She is internationally-recognized as a humanitarian and anti-war activist.

       5.      Goodman is citizen of New York. He owns, maintains and operates

multiple Internet and social media properties, including a YouTube channel

[www.youtube.com/channel/UC8Cl9QaRtuW9CNjP7pP4BBQ],                 a        Facebook     page

[https://www.facebook.com/Crowdsource-The-Truth-1331354320209243/],               a     Twitter

account, (@csthetruth) [https://twitter.com/csthetruth?lang=en], a Periscope account

[https://www.pscp.tv/csthetruth/],      and       an    account         at      Patreon.com,

[https://www.patreon.com/crowdsourcethetruth]. The name of Goodman’s various social

media properties is “Crowdsource The Truth” (“CSTT”). Goodman uses his YouTube

channel and videos, Facebook page, Twitter, Periscope and Patreon accounts to advertise

the for-profit business of CSTT and for purposes of trade. Goodman solicits donations,

advertises products and derives revenue from the videos uploaded to his YouTube

Channel, to his Facebook, to his Twitter and Periscope accounts, and to Patreon.com.

Goodman and his agents were physically present in Virginia on multiple occasions in

connection with the production of YouTube videos. Goodman’s websites are active.

Goodman’s videos target subscribers, patrons and viewers located in Virginia and

elsewhere.

                          III. JURISDICTION AND VENUE

       6.      The United States District Court for the Eastern District of Virginia has

subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332. The parties are

citizens of different States and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs.




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          7.   Goodman is subject to personal jurisdiction in Virginia pursuant to

Virginia’s long-arm statute, § 8.01-328.1(A)(1) and (A)(4), as well as the Due Process

Clause of the United States Constitution. Goodman targeted a Virginia citizen and a

Virginia non-profit, and has engaged in a persistent, continuous and ongoing course of

defamation that injured Plaintiffs in Virginia. Goodman has minimum contacts with

Virginia such that the exercise of personal jurisdiction over him comports with traditional

notions of fair play and substantial justice and is consistent with the Due Process Clause

of the United States Constitution. The general thrust and content of Goodman’s videos

and tweets – which he produced, directed, spoke in, edited and published on platforms he

operates – manifests an intent to target and focus on Plaintiffs, and direct content to a

Virginia audience. The focal point of Goodman’s accusations of “felony charity fraud”

was an event that occurred in Oakton, Virginia. The brunt of the harm, in terms of both

of Robert’s emotional distress and injury to Plaintiffs’ business and reputations, was

suffered in Virginia, where Robert lives and works. Plaintiffs’ claims directly arise from

and relate to Goodman’s publication of false and defamatory statements in Virginia.

Calder v. Jones, 465 U.S. 783 (1984); Keeton v. Hustler Magazine, Inc., 465 U.S. 770

(1984).

          8.   A substantial part of the events giving rise to the claims stated in this

action occurred in the Alexandria Division of the Eastern District of Virginia.

                         IV. STATEMENT OF THE FACTS

          9.   Plaintiffs have no agents or employees, no professional fundraisers, no

fund-raising counsel, no office or mailing address in New York, and do not solicit

donations from residents of New York by telephone, over the Internet, by direct mail or




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otherwise. Other than one speaking engagement, Robert was never physically present in

New York in 2017 for any reason.

       10.     On June 13, 2017, Robert met CSTT agent George Webb (“Webb”) at the

Kob Kun Thai restaurant in Oakton, Virginia, to do an interview. Goodman and Negron

live-streamed the interview, which Goodman simultaneously published on his YouTube

channel: https://www.youtube.com/watch?v=hMJoAO5OZY8&feature=youtu.be.

       11.     During the live-stream, Robert shared his views on 9/11, pedophilia and

the purpose of #UNRIG. During the live-stream Goodman NOT Robert, voluntarily

solicited donations to help with the #UNRIG campaign. [See, e.g., Video at 10:14 – “We

would love to help you with that”; id., Video at 13:47 – “I want everybody to retweet that

#UNRIG”; id., Video at 37:19 – “for people who are just joining, I’m going to include in

the comments again the URL for the UNRIG Indiegogo”; id., Video at 38:33 – “if every

one of our thousand-plus viewers will donate $25, we can really move the needle on this

thing”; id., Video at 50:44 – “Everyone should still keep going [to] that URL to get

involved with the movement and donate to the Indiegogo campaign”]. On June 13, 2017,

Earth Intelligence Network received a total of $9,827.01 in donations from 175 donors.

There is no way of knowing who, if anyone, donated money to Plaintiffs because of

Goodman’s live-stream. Only one (1) person who donated to Earth Intelligence Network

on June 13, 2017 identified themself as living in New York. That person donated $50.

       12.     In 2017, Earth Intelligence Network’s gross contributions from persons

who identified themselves as living in New York were less than $25,000 per year. In

fact, in 2017 total donations from persons known or believed to reside in New York were

only $2,751.




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       13.    On June 14, 2017, Goodman and Negron published a video on YouTube

entitled, “Clear and Present Danger (Calm Before the Storm?) #maerskmemphis”.

In the video, Goodman and Negron claimed that Webb had “intel” from a source

identified as “Deep Uranium”, indicating a “strong possibility of Clear and Present

Danger due to illicit radiological material on board” transoceanic container ship, Maersk

Memphis. Goodman and Negron encouraged the “Crowdsource community” to spring

into action and alert the United States Coast Guard that there was a “dirty bomb” aboard

the Maersk Memphis. Goodman told CSTT subscribers to “Call the port authority –

that’s an excellent idea.   Someone call the port authority there – in Charleston.”

Someone, in fact, called in the putative dirty bomb threat, which caused a terminal at the

Port of Charleston, South Carolina, to be shut down.

       14.    In truth, there was no “intel”. The dirty bomb was a hoax. The Federal

Bureau of Investigation (“FBI”) immediately opened an investigation into the false report

of a dirty bomb aboard the Maersk Memphis.

       15.    Robert learned about the “dirty bomb” hoax, and chose to distance himself

from Goodman, Negron and CSTT. Robert immediately canceled an interview with

Goodman and Negron planned for June 15, 2017. Robert informed Goodman by private

email that he (Robert) no longer wanted anything to do with Goodman and CSTT.

       16.    Upon receipt of Robert’s email, and in retaliation and reprisal for Robert’s

decision to no longer have anything to do with Goodman and CSTT, Goodman, in

combination and concert with Negron, Holmes and others, began an unprecedented social

media smear campaign against Plaintiffs.




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       17.     Beginning on June 15, 2017 and continuing through August 30, 2017,

Goodman, Negron and Holmes combined, associated, agreed and acted in concert (most

times together on camera) to publish the following false and defamatory statements of or

concerning Plaintiffs:

               a.        On June 15, 2017, Goodman and Negron produced and published a

video on YouTube entitled, “Deep State Panic Attack”.          In this video, Goodman

encouraged viewers to demand a return of their donations from #UNRIG. Speaking to

viewers in Virginia and elsewhere, Goodman stated, “I was a little bit cautious with

Robert David Steele and I didn’t trust him either, Pamela … so yeah, I want my money

back too Karen. I’m going to go call American Express and see if I can cancel that

donation … So Alex says RDS is a scam. I got to admit I feel a little betrayed by him”.

               b.        On June 16, 2017, Goodman produced and published a video on

YouTube entitled, “Getting the Dirty Bomb Story Straight”. In this video, Goodman

stated “We made a big mistake with Robert David Steele and I’m going to have to

communicate with him about this … We’ve raised a lot of money for him.3 We need to

apologize to you guys for doing that”.

               c.        On June 16, 2017, Goodman and Negron produced and published a

video on YouTube entitled, “The Failing New York Times”. As with all the videos at

issue in this action, The Failing New York Times was scripted ahead of time. Goodman

and Negron discussed the subject matter and content via email, telephone and/or text



       3
               During the June 13, 2017 interview in Virginia and in many videos
thereafter, Goodman admitted that CSTT (“we”) had solicited the donations. Goodman’s
subsequent representations, repeated in 2017, 2018, 2019 and 2020, that Plaintiffs had
committed “felony charity fraud” by soliciting donations in New York was knowingly
false.


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 message. They agreed upon the storyline/thesis, theme and tone. Goodman and Negron

 appeared and spoke on screen together, with one voice, and a shared common purpose as

 evidenced by their language and visual expressions. Negron made no attempt to correct,

 contradict or distance herself from Goodman. The videos are clearly a joint production

 effort. In The Failing New York Times, Goodman stated, “I want to invite our friend,

 Robert David Steele, to uh give back the money to all the people that we raised money

 for his organization the other day … So I’m making an open call right now. Everyone

 should just go directly to their credit card company and cancel the charge and if there are

 financial crimes experts out there I’d like to know if its legal for Mr. Robert David Steele

 to make up lies about me … and spread these lies to our viewers”.

                d.      On June 20, 2017, Goodman and Negron produced and published a

 video on YouTube entitled, “COG”. Goodman, Negron and Webb appeared together in

 the video, which was filmed in a hotel room in London, England:




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 In this video, Goodman states “Trish – I’m glad you mentioned stealing, because you’ve

 just reminded me of something – particularly the robber David Steele … Many of our

 viewers have expressed real anger at feeling tricked by the campaign from Robert David

 Steele. And I assure you, we were tricked by him as well”. Goodman called Robert the

 “robber David who Steals”, “the “robber David who Steals from our audience ... and puts

 out false information”. Goodman falsely accused Robert of stealing from the CSTT

 audience three times.

               e.        On June 26, 2017, Goodman and Holmes produced and published

 a video on YouTube entitled, “Queen Tut call re: Robert David Steele #Unrig Fraud

 Claim”.4 This video featured a still shot of Goodman and Holmes side-by-side, together:




        4
                Goodman’s videos uploaded to YouTube solicit money from viewers,
 subscribers and patrons and contain a “Legal Disclaimer”: “Sponsorship of Crowdsource
 the Truth is made at the sponsor’s sole discretion. Sponsorship funds are not tax-
 deductible, are non-refundable, and do not represent any ownership, equity interest or
 decision-making authority in the organization.” All of the funds raised by Goodman in
 and by his videos were for his own commercial and personal purposes.


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 In this video, Goodman stated, “I question if … any of his credentials are authentic. I

 think he’s just a cheap con man … He knows it’s a useless campaign he’s just trying to

 suck $250,000 out of people … I think he’s involved in a pretty serious financial scam.

 Uh, I think that there’s a possibility that a Rico charge could be involved because he has

 Defango with him. I think that he’s uh defrauding people across state lines. I mean I’m

 not a lawyer of course, but it seems like he is doing things that are very criminally

 actionable … You know I’m obviously not a mental health professional but it certainly

 seems he’s got some kind of schizophrenic behavior there … Its people who are sick and

 tired of people like Robert David Steele. The robber David who Steals.” Holmes stated,

 “Oh man, I get it. He’s really conning people … When you look at his behavior, his

 pattern of behavior with this scam of the Electoral Reform”.

                f.     On June 26, 2017 at 2:11 p.m., Goodman republished his interview

 with Holmes to a new target audience by tweeting the YouTube video to his Twitter

 followers. Goodman habitually engaged in this form of ritual republication. With few

 exceptions, if any, Goodman’s videos were simultaneously published on CSTT’s Twitter

 feed and on CSTT’s Facebook page.

                g.     On June 27, 2017, Goodman produced and published a video on

 YouTube entitled, “FRANK BACON Call Regarding Robbing and Stealing #unrig”.

 As part of the modus operandi of the conspiracy and scheme to defame Plaintiffs,

 Goodman employed memes and caricatures to hide the identity of the speakers. The

 FRANK BACON video features Goodman speaking with an anonymous person who is

 represented by the caricature of a hotdog and a strip of bacon:




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 In this video, Goodman stated, “Let’s assume for a moment he’s a con man or a

 hypothetical situation in which he may be a con man, claiming to be an ex-CIA agent is

 sort of the perfect con.”

                h.      On June 29, 2017, Goodman and Negron produced and published a

 video on YouTube entitled, “Squidward v. Sponge Bob”. In this video, Goodman

 stated, “What Google helped him do was to file privacy complaints for videos that we

 have that include evidence of Robert David Steele committing fraud … [Google] helped

 me when I typed in, is Robert David Steele a lying moron? and the answer came back yes

 … I will say the Robber David who steals has already put a privacy complaint on that

 video … if you’re going to appear on there [the Alex Jones show, Infowars] …and you

 are going to claim to be nominated for a Nobel Peace Prize even though you are doing

 the nominating yourself or having some friend of yours do the nominating … I want to

 show what a fraudster this individual is.”

                i       In the YouTube video “Squidward v. Sponge Bob”, Goodman

 and Negron refer to another video interview conducted by Goodman in which Goodman


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 appears jointly with and talks to yet another anonymous caricature, “Squidward

 Tentacles”.    Goodman, inter alia, republishes the following false statements by

 “Squidward”: “this gentleman [referring to Robert] came on your show and he deceived

 10,000 people to donate $15,000 … he committed interstate wire fraud”. Goodman

 replies, “I’ve suspected that from the beginning, yes”.

                j.     On June 29, 2017, Goodman and Holmes produced and published

 a video on YouTube entitled, “Queen Tut call 002”. In this video, Goodman stated,

 “[h]opefully, the FTC or some other law enforcement body will, can take this over and

 prosecute him [referring to Robert] with criminal charges”.

                k.     Goodman also employed agents to communicate on his behalf

 directly with Robert via email. One such agent is a person “Ralph O. Davis” (“Davis”)

 from Richmond, Virginia. Davis emailed Robert on multiple occasions in June, July and

 August 2017. On July 3, 2017, Davis emailed Robert as follows:

        “Robert, I thought there might be an outside chance that you’re a big enough
        person to willingly reconcile w/Jason for reasons beyond your still inexplicably
        vehement derision of him based on your stated subjective 'suspicion' of his
        supposed Mossad affiliation. Sadly, I apparently misjudged you. There's no
        independent or verifiable support for that view yet you cling to it as matter of fact.
        It’s wholly irrational, ..or you have a covert agenda to disrupt for personal or
        professional motives.

        Since you’re unwilling to even acknowledge your provocative role in primary
        responsibility of this petty distraction, I have no further expectation of its
        satisfactory resolution and can’t in good conscience support someone so
        compromised by exercise of unstated agenda. I therefore reiterate my request for
        refund of my $100 contribution. It was based on presented sensibilities that you
        now appear to disingenuously manufacture when seeking to appeal, then
        conveniently discard when your personal agenda overrides any sense of
        obligatory responsibility to principles you alleged to champion. In doing so you
        contradict what you purport to represent as ostensible reformer of malfeasance.
        It’s very disappointing and troubling considering the rarity of people actually
        aware, awake and moved to the necessity of reestablishing standards of morally
        responsible behaviors where that matters most.



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        You now appear to willfully represent something cynical and hypocritical to any
        higher purpose and by doing so misrepresented yourself and your intent in your
        violent about face after the interview with George Webb for what’s clear now as
        no real reason.

        You've willfully defrauded. Please process the refund asap.”

 On July 14, 2017, Davis emailed the following:

        “Good morning, Robert. How in hell are you? It’s certainly where we are if only
        in its better suburbs, eh? The degree of mayhem presently building is truly mind
        boggling, and you certainly seem tainted by one of its many afflictions, so sorry to
        say.

        As I responded in the below to one of your bedfellows who used the same tactics
        to vilify those you, too, betrayed so willfully, if more personally, I noted that for
        every such Tom, unfortunately, there’s a Robert as well. Not good of you, my
        friend. Not honest, ethical or intelligent in true sense. Deceit and betrayal never
        goes out of style for those with corrupt agenda. So, Robert, how, in hell as it
        were, do you restore to government what you do not possess in the first place?
        …

        Do the right thing, Robert. Refund what you took through fraud.”

 Just as Goodman, Negron and Holmes’s videos got nastier and more malicious over time,

 so did Davis’ emails. On July 28, 2017, Davis sent Robert the following email:

        Hey, Robert! How goes life of fraudulent crime in total political pretense, my
        fakey friend? It can't make anyone proud, can it? You have kids, don’t you? So,
        does Cynthia have any suspicion that she’s hooked-up with a smiley, shady
        character who’s setting her up for a fall? Life must get complicated when blow-
        back ensues, as it inevitably does. While you do talk a good line, I must admit,
        it’s one that self exposes the inevitable contradictions that you just can’t dance
        around for long. Is it ever embarrassing that your nasty little smear attempt only
        damaged your own cover? Too bad for Cynthia, good lady she apparently is, to
        have found herself in the grip of a pro-co-intel charlatan handler.

        Anyway, still time to redeem yourself if you fess-up, do compensation and beg
        your many victims for forgiveness, you old fraud. George and Jason continue to
        gain deserved traction with Awan’s arrest and the avalanche of evidence now
        finding light of day that can’t be suppressed as you and yours must have hoped.
        But, you, too, will find yourself exposed, Robert. Sad day that, eh? It will feel
        like sitting on top of a pile of depleted uranium that you’ve attempted to obscure.




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        Why not get started first with a public apology to Jason, George, Trish and
        Cynthia, then refunding all those you've pretentiously defrauded? Imagine the
        sense of freedom from convoluted fiction! As difficult as it is for you, do the
        right thing.”

 On August 9, 2017, Davis emailed Robert as follows:

        “Well, Robert, I understand how time consuming it must be trying to persuade an
        unsuspecting audience that you're; 'Authentic, Inclusive, and Truthful', (AIn'T)
        ..when it just ain’t so. What tangled web, eh, my contradictory snake-oil friend?

        Maybe Alienate, Incite and Trouble would be more apropos to your agenda? So,
        has Cynthia caught on yet to your set-up for her fail? It’s just a matter of time
        unless you make amends to those you've already betrayed. So, to that end, please
        send the refund that you solicited on false pretenses at your earliest opportunity.

        You may be aware that all of your recorded slanderous assertions regarding
        George and Jason are now coming back to haunt your laughably pretentious
        themed bus tour. Seriously, better think harder about reconciliation over law
        suits.”

                l.     On August 7, 2017, Goodman, Negron and Holmes produced and

 published a video on YouTube entitled, “Queen Tut 003”. In this video, Goodman

 stated to Holmes that “they [referring to the FBI or CIA] were very interested in

 communicating with you [Queen Tut] about your research into the activities of our friend

 Robert David Steele … they want to basically [bleep] Robert David Steele, [bleep] and

 they felt that you had presented good information that might lead them in that direction,

 specifically with regard to your communications with Rand Paul’s office and Robert

 David Steele’s misrepresentation that he was having them draft a bill for him, and the fact

 that he had raised money under that representation that that was happening … I want to

 put you in touch with them … I’ve only spoken to them for a limited amount … I find it

 really difficult to believe that he was ever in the CIA because he just seems so fucking




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 stupid … he’s engaged in an operation to compromise Cynthia McKinney and basically

 co-opt her credibility5 and … destroy her reputation.”

                m.     On August 11, 2017, Goodman published the following false and

 defamatory statements in an email to Dr. McKinney:

        “From:         Jason Goodman <truth@crowdsourcethetruth.org
        Subject:       Your association with Robert David Steele

        Dr. McKinney,

        Both myself and George Webb have made several attempts to contact you, but
        have not received a direct response. I hold you in very high regard and I am
        slightly confounded by your decision to align with Robert David Steele. In my
        estimation he has repeatedly made ignorant and even racist comments, has
        defrauded my audience of money, has personally and publicly insulted me and is
        actively attempting to co-opt your credibility to raise funds. I would really
        appreciate it if you would agree to an interview via Skype to address these
        concerns. Many people in our audience have concerns about your association
        with RDS given his ongoing abusive behaviors documented in a number of
        videos. Thank you for your consideration, I await your response.”

                n.     On August 11, 2017, Holmes entered an educational chat room

 managed by Dr. McKinney, using the pseudonym “Pat”.6 Holmes posted the following

 question and comments:

        “Guest Pat
        00:50AM
        Cynthia: Is it true that your student loans are being paid
        off from UNRIG funds? RDS states this on his website.”

 Dr. McKinney replied to Holmes as follows:




        5
                 In his videos, Goodman repeatedly accused Robert of “co-opting” the
 credibility of people to hide or conceal fraud or further his alleged schemes.

        6
                As Goodman was well-aware, Holmes used multiple pseudonyms,
 including “Pat Ingram”.


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        Cynthia McKinney
        04:03AM
        Hi Pat, you must've missed Robert's very public statement
        that donated IndieGoGo funds go solely for #UNRIG
        operational costs. Robert David Steele has stated this
        policy publicly, which I wholly endorse.

               o.     On August 13, 2017, Goodman, Holmes and Negron produced and

 published a video on YouTube entitled, “Queen Tut 005 - Damning Evidence of Fraud

 in the #Unrig Campaign”. The video confirms that Goodman and Holmes exchanged

 emails and documents in furtherance of their joint undertaking to defame Plaintiffs.

 Goodman, Holmes and Negron appeared in a still shot together throughout the video:




 Goodman stated, “I really want Trish and you and I to really collaborate on this going

 forward.” Goodman emphasized that the objective of the UNRIG campaign was to “get

 money” for Robert.    Holmes stated, “I just want to make the statement that it is my

 assessment that Robert David Steele and Cynthia McKinney have a pay-to-play operation


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 going on … the UNRIG scam. It’s a total scam … That’s what it needs to be called

 because that’s what it is … Cynthia McKinney knows that RDS is soliciting donations in

 her name to pay off her student loans, taxes, and to provide some type of compensation

 … Robert David Steele is the architect of all the scam and has promoted and stated many,

 many lies, constantly. He consistently lies.” For her part, Negron stated that Robert is

 “predatory in nature … [the CIA] probably told Robert he could keep whatever money he

 raised”, to which Goodman agreed, “exactly, exactly”. Viewers of Queen Tut 005

 immediately understood the video to convey a defamatory meaning. Robert received an

 email about the video that read: “I support #Unrig and hold you both in High Regard –

 WTF is this about?”. Even long-term supporters of Robert and UNRIG were impacted

 by the Queen Tut 005 video. One such supporter emailed Robert as follows:

        “Robert,

        This video https://www.youtube.com/watch?v=ZhbeltyhnVk is causing us some
        problems at VL. I am getting numerous emails, pms and comments about it
        asking me to rethink my support for #UNRIG.

        Yes, many are Goodman shills but a few are genuine long time subs of mine.
        With that said, I need to address this asap to nip it in the bud. If you want to
        address it with an update video, that would be great, if not, I can do it.

        Bottom line is that I need to be able to report with confidence that the allegations
        in the Goodman video are without merit.”

 Another person reported to Robert that:

        “I finally listened to the new Queen Tut video. Jeez! When I thought they
        couldn’t go any lower! Trish Negron says defamatory things about you, e.g calls
        you a predator. All three defame Cynthia a lot too.”

               p.      On August 17, 2017, Goodman, Negron and Holmes produced and

 published a video on YouTube entitled, “Parallels to Soros: Micro to Macro”. The

 video was filmed at Negron’s house. In this video, Holmes stated, “this kind of person



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 [referring to Robert] is a danger to the alternative news community and he has been

 operating for way to long … We want him to be gone now”. Holmes repeated and

 republished many of the statements made in prior videos, including Queen Tut 005.

                q.     On August 26, 2017, Goodman, Negron and Holmes produced and

 published a video on YouTube entitled, “Unrig Cynthia McKinney”. In this video,

 Goodman stated, “it keeps getting stronger and stronger the evidence of fraud … Now I

 want to clarify something because we’re7 not doing this to be vindictive, we’re not doing

 this because we dislike Robert David Steele, although I personally do. We’re doing this

 because [laughter] … Robert David Steele’s behavior represents the exact same type of

 fraud that sucks out money from the population.         He’s lying.    He’s, you know,

 representing that he’s going to do this Election Reform Act, but as Queen Tut has pointed

 out, there’s evidence that he has made no effort to do that and in fact has misrepresented

 efforts that he has claims to have made, which he clearly has not … So this is what we’re

 doing to sort of take some power away from Robert David Steele and disallow him from

 cheating people like this … It’s another example of someone co-opting the credibility,

 Robert David Steele co-opting the credibility of Cynthia McKinney who is someone a lot

 of people trust.” Holmes stated, “And this is the nail in the coffin for Robert David

 Steele’s platform for being the Open Source guy. He is not the open source guy, he never

 has been … He’s created a scam for many many years and he’s been defrauding people

 for a very long time … Cynthia McKinney is also a fraud too. She is willing to associate

 with Robert David Steele … and she’s only getting trips here to the US based on these



        7
                  The specific pronouns and identical language employed by Goodman,
 Negron and Holmes demonstrates that they were acting in concert and that they harbored
 spite, ill-will and actual malice towards Plaintiffs.


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 fraudulent donations to this fraudulent UNRIG scam, and she knows its fraudulent …

 Everybody can go look at the UNRIG.net. We suggest you do it. We suggest you look at

 Robert David Steele’s UNRIG information. Look at all of it. We want everyone to do

 that, so you can see their whole drive is to get their hands on these corrupt Congressman

 and have them do this pledge”. For her part, Negron stated, “No, he’s a serious con man,

 but I mean the bigger point being, you know that this is a serious fraud. I mean that it is a

 fraud. No question.”

                 r.     On or about August 26, 2017, Holmes stated on Trello.com that

 Robert did not author the NATO Open Source Intelligence Handbook.

                 s.     On August 30, 2017, Goodman and Holmes produced and

 published a video on YouTube entitled, “Je Suis Queen Tut - Is Robert David Steele

 Running an Op Against George Webb & CSTT?”. Goodman described the video as

 follows: “The mighty Queen continues to call out the Robber David who Steals on his

 potentially fraudulent activities”. The video republishes, directly and by implication,

 some of the same statements about Robert and #UNRIG as were published in prior

 videos.

           18.   On or about September 1, 2017, Negron dissolved her relationship with

 Goodman.

           19.   Between September 1, 2017 and December 25, 2017, Goodman and

 Holmes continued to act together, in concert and in furtherance of the conspiracy to

 defame Plaintiffs. They published the following false and defamatory statements and

 insulting words:




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                a.     On September 6, 2017, Goodman and Holmes produced and

 published a video on YouTube entitled, “Crushing Grip of the Deep State”. In this

 video, Goodman stated, “what we are proposing is that Robert David Steele is trying to

 fool everyone and that Robert David Steele is not in fact engaged in a campaign to

 execute election reform and Queen Tut you were one of the very first crowd source the

 truth community members to come forward with evidence. This is the key I know it’s

 very difficult for Robert David Steele’s thick skull and dense brain to absorb information.

 It’s a side effect of being a total moron, but the fact is when you accuse someone of fraud

 and you present evidence of fraud that is called journalism; that is called exposing fraud”.

 In the video, Goodman also published the following statement by “Joe Hudson”: “Hey

 Jason … I just want to make a quick statement … [I]t sounds like you know how those

 people develop those Ponzi schemes with fake stocks [Goodman interjects, “right”] and

 the stock keeps going up and up and up, and it’s not really a stock, it’s not really even a

 company … sounds like that’s what RDS is doing”.

                b.     On September 11, 2017, Goodman and Holmes produced and

 published a video on YouTube entitled, “#Unrig Espionage, Treason and Traitors in

 Congress”. The description of the video falsely accuses #UNRIG and Dr. McKinney of

 “espionage” and “treason”. In this video, Goodman stated, “now some of the things

 you’re saying are quite shocking and initially you know we had thought that Cynthia

 McKinney was simply being influenced by Robert David Steele”. Holmes stated that Dr.

 McKinney is “backed by a very powerful group called the Muslim Brotherhood …

 funded by the Muslim Brotherhood… [S]he is very, very insidious because she comes

 across as the alt left using the people language the people language, but ultimately she is




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 Islamic. She is part of the Muslim Brotherhood program and movement … there is a

 jihad going on right now [and] Cynthia’s part of it … She’s doing this fake unrigged

 campaign which is completely fake. They never went anywhere. Basically, it never

 happened”. Goodman stated, “Queen Tut, let’s examine some of the financials for

 Robert David Steele’s Earth Intelligence Network … [W]e’re learning quite a lot about

 how charletans can take advantage of the various loopholes and just you know straight

 out commit fraud with these 501c3’s … Robert David Steele is constantly lying about the

 facts of everything that’s gone on from the time that he met us until today.”

                c.     On September 23, 2017, Goodman and Holmes produced and

 published a video on YouTube entitled, “Unraveling the Deep State – Conspiracy to

 Suppress Free Speech”. In this video, Goodman stated, “Robert David Steele is trying

 to reveal who Queen Tut is to prevent her from providing this evidence of fraud. People

 should be asking themselves why is he doing that? What is his purpose in doing that? Is

 it because he’s an honest guy who wants to reveal the truth or is it because he is a

 deceptive fraudster allegedly who wants to trick people into thinking he’s running a

 501c3 that’s going to create election reform when in fact all he’s doing is trying to raise

 money so he can buy RVs so he can crash them and buy soft drinks and give gifts”.

 Holmes stated, “Well Jason … this is a tactic, it’s the same tactic used at the macro level

 that we’re talking about with Bezos DARPA CIA Washington Post. It’s the same tactic

 that RDS is using to shut down Crowdsource the Truth … RDS is a disinfo agent, once

 CIA never not CIA, you know, and he’s been actively doing everything he can to co-opt

 the truther movement on the Internet, and he came after ours, our group right away

 because guess what we were the ones who revealed his basic fraud that he’s been




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 perpetuating for a number of years using this electoral reform act … Robert David Steele

 is in a conspiracy to take down Crowdsource the Truth and he’s been involved in it for a

 … while now … Robert David Steele is a very nasty person and that man has done more

 for taking down really good people … [W]e are going to make sure and we’ve already

 done a lot by exposing your numerous frauds and in my opinion you’re a person who

 needs to be put down [Goodman interjects: “legally speaking”] legally speaking

 absolutely legally speaking that you need to be put in a place where you can no longer

 affect human beings and be twisting people’s minds especially the naïve people who

 come on the Internet looking for truth. You’ve been twisting people’s minds for a very

 very long time and we want people to understand that this needs to stop and that you need

 to be stopped and that your association with the Muslim Brotherhood Cynthia McKinney

 and her funding by George Soros which we discovered recently there’s some ties going

 on here with Robert David Steele … He is not a good guy.” Goodman followed up and

 stated, “I thought you were going to say Robert David Steele is a sociopath and it’s my

 opinion that he might well be that [Goodman chuckles]”.

               d.      On September 27, 2017, Goodman published a video on YouTube

 entitled, “Fyreside Chat With What Big Eyes You Have”.               This video features

 Goodman with yet another caricature as his “guest”. Goodman identities the guest as

 “What Big Eyes You Have”. In this video, Goodman stated, “this is these guys taking a

 page right out of the book of all the crooks and criminals that we are trying to expose,

 whether it’s the Clinton Foundation and all of their felonious activity that I speak about

 every Sunday on Sunday with Charles with Charles Ortel or you know the very activities

 of Robert David Steele himself.”




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                e.     Many of the Goodman/Holmes video productions promoted and

 encouraged violence against Plaintiffs. Goodman and Holmes doxed Robert’s home

 address in Oakton, Virginia, to viewers and subscribers and used Google Maps to show a

 photo of Robert’s home in Oakton. On September 30, 2017, Goodman and Holmes

 produced and published a video on YouTube entitled, “#fakelawsuit: The Impotent

 Psychological Warfare of The Robber David Who Steals”. The Goodman/Holmes

 video opens with a frightening still shot of an exploding RV:




 Goodman and Holmes describe the video as follows: “Crowdsource the Truth addresses

 Robert David Steele’s fraudulent 501c3 Earth Intelligence Network.” In this video,

 Goodman revealed that “Queen Tut” is a “code name” that he gave Holmes when she

 first contacted him in June 2017. Goodman claimed that Robert was “changing things

 and trying to cover things [relating to his nomination for a Nobel Peace Prize] that he

 realizes were obviously or at least seemingly obviously fraudulent so that’s one thing




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 right there.” Holmes accused Plaintiffs of “charity fraud … we’re going to go into the

 charity fraud related to the Earth Intelligence Network … there is charity fraud here okay

 that’s a fact”.    Goodman stated, “if you are going to solicit money, charitable

 contributions as Robert David Steele did when he came on to Crowdsource the Truth

 [during the June 13, 2017 interview in Oakton, Virginia] and said he wanted to raise two

 hundred and fifty thousand for his fraudulent election reform campaign, in which he told

 us and said on the Internet and in various interviews that he was going to have Rand Paul

 draft a bill that was going to become an act that would be this Election Reform Act, but

 we now know that that never happened and that there was not enough time available in

 the time that was you know at the time he was making that ask but he was soliciting those

 funds there was not sufficient time for that to even happen so that was fraudulent …

 we’re bringing this information forward because if someone tries to take a tax deduction

 on their donation to the Earth Intelligence Network, they themselves could be in legal

 jeopardy … This is a public service announcement to members of the crowdsource

 community who have been victims of fraud – fraud executed by Robert David Steele”.

               f.      On October 7, 2017, Goodman and Holmes published a video on

 YouTube entitled, “Bone Thugs and Disharmony: Conspiracy to Silence Truth?”. In

 this video, Goodman accused Plaintiffs of “charity fraud and tax fraud”. Goodman’s

 false statements had a definite negative impact on Plaintiffs’ business and reputation.

 Twitter account “@James90972633” tweeted the following in response to Goodman and

 Holmes’s Bone Thugs video:




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        20.    The relationship between Goodman and Holmes ended in late December

 2017 on unfriendly terms. On December 27, 2017, the “Hoax Wars” YouTube channel

 published a video entitled, “The Queen Tut Tapes #1: Trish Has Spent $8,000

 Defending RDS Lawsuit”. During the video, Holmes announced that she had “left

 CSTT”.

        21.    Goodman continued the smear campaign. Since December 25, 2017, he

 has published numerous false and defamatory statements in videos uploaded to YouTube,

 including the following:

               a.      On February 13, 2018, Goodman published a video on YouTube

 entitled, “Kevin Shipp – CIA Whistleblower”. Many of Goodman’s videos contained

 statements about the CIA, located in Langley, Virginia, and were intended to denigrate

 Robert’s service. In Kevin Shipp – CIA Whistleblower, Goodman stated, “well I

 certainly can’t immediately think of anyone like that who might be lying about things




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 constantly and you know spreading disinformation”. Goodman’s statement is of or

 concerning Robert. As Goodman makes this statement, he displays the following image

 on screen:




                   b.   On March 5, 2018, Goodman published a video on YouTube

 entitled, “Ole Dammegard & Cody Snodgres – False Flags Pattern Recognition from

 JFK to Parkland School Shooting”.          In this video, Goodman stated “We’ve seen

 buffoons like Robert David Steele, who people tell me actually did work for the CIA, but

 he seems to be running a number of frauds. I’ve pointed to evidence where he’s doing

 charity fraud”.

                   c.   On March 15, 2018, Goodman published a video on YouTube

 entitled, “Truth vs Lies”. In this video, Goodman stated, “when I tell you and the rest of

 the people in the crowdsource community that Robert David Steele is a fraud I say that

 because I have evidence that he’s committed charity fraud … [a]m I lying Joe? Have I

 fabricated this information with the specific intent of defaming this robber who steals.

 This fraud [forcibly pointing at and referring to Robert]”:


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 Goodman continued the rant about Robert, “this tiny man who goes on the Internet and

 deliberately lies, okay. Robert David Steele is also fundamentally a fraud because he

 behaves in a consistently fraudulent way … lying miscreant … I want evidence from Pro

 Publica to show that this guy’s a liar [points to Robert on screen in background]”.

                d.     On April 17, 2018, Goodman published a video on YouTube

 entitled, “Tea Party in Teaneck Take Two”. In this video, Goodman stated, “Robert

 David Steele came on my program. In the course of about an hour or two, our audience

 raised $15,000 for this charitable organization [Earth Intelligence Network] a 501c3, tax

 exempt charity. Now there’s a lot of laws that govern the operations of these 501c3s …

 and in addition to being registered as a tax-exempt organization, these types of charities

 need to be specifically registered in each state they operate in. You can’t just go around

 soliciting funds in New York without being registered with the New York State Bureau

 of Charities … I have evidence that this person’s 501c3 organization is operating




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 fraudulently in the state of New York. The lack of registration with the New York State

 Bureau of Charities indicates that the solicitation of two hundred and fifty thousand

 dollars in the state of New York over the Internet is felony charity fraud”.

                e.      On May 9, 2018, Goodman tweeted the following statement:




 Goodman used hashtags8 within tweets about Plaintiffs to encourage and entice others to

 get the theme trending.

                f.      Between May 17, 2018 and the present, Goodman has published

 another twenty (20)+ videos containing the same or similar false, derogatory,

 disparaging, defamatory and insulting statements, implications and insinuations about

 Plaintiffs, including accusations of “felony charity fraud”, tax fraud, “fraud”, “perjury”,

 commission of a “crime”, conduct that would subject Plaintiffs to “prison”,

 “perpetration” of “this dirty bomb hoax .. [that] is ultimately aimed at helping to take

 down President Trump”, conspiracy, “psychological operation[s]” to “co-opt” people,




        8
                  A hashtag is a keyword or a phrase used to describe a topic or a theme,
 which is immediately preceded by the pound sign (#). Hashtags target a subject and help
 other users find the topic. A hashtag automatically becomes a clickable link when it is
 tweeted. Anyone who sees the hashtag can click on it and be brought to a page featuring
 the feed of all the most recent tweets that contain that particular hashtag.



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 “deceptive” operations, “persistent” lying (“he lied about being nominated for the Nobel

 Peace Prize”), see:

        https://www.youtube.com/watch?v=JaA33LEcCrI (May 17, 2018);

        https://www.youtube.com/watch?v=JbqmsY_7UDA (May 26, 2018);

        https://www.youtube.com/watch?v=LhmeaTU8T5E (June 7, 2018);

        https://www.youtube.com/watch?v=h1fFYuxcoCE (June 21, 2018);

        https://www.youtube.com/watch?v=TtAG7eBbpI4 (June 21, 2018);

        https://www.youtube.com/watch?v=HEx-AqtaXuU&frags=pl%2Cwn
        (June 27, 2018);

        https://www.youtube.com/watch?v=VUVT1hY_vas&frags=pl%2Cwn
        (June 30, 2018);

        https://www.youtube.com/watch?v=GeXeXPWui2g&frags=pl%2Cwn
        (July 24, 2018);

        https://www.youtube.com/watch?v=NYbMW2NZqU4&frags=pl%2Cwn
        (August 6, 2018);

        https://www.youtube.com/watch?v=agcQMe8gsmo&frags=pl%2Cwn
        (August 7, 2018);

        https://www.youtube.com/watch?v=N2uWG7moD7Q&frags=pl%2Cwn
        (August 20, 2018);

        https://www.youtube.com/watch?v=rThDixbtnCI&frags=pl%2Cwn
        (August 21, 2018);

        https://www.youtube.com/watch?v=XgTwwAX4_1o&frags=pl%2Cwn
        (August 27, 2018);

        https://www.youtube.com/watch?v=sqVUiOsMB70 (September 14, 2018);

        https://www.youtube.com/watch?v=FFZKTGkoNE8 (December 1, 2018);

        https://www.youtube.com/watch?v=7GWkMxKH0FU (March 22, 2019);

        https://www.youtube.com/watch?v=iBteEdD66Jc (April 6, 2019);




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        https://www.youtube.com/watch?v=WwyRPFhW-HE (April 30, 2019);9

        https://www.youtube.com/watch?v=aUeNLLWikiM (May 1, 2019);

        https://www.youtube.com/watch?v=77RZ09Jp46Y (May 12, 2019);

        https://www.youtube.com/watch?v=KC8E-AdKSM0 (July 4, 2019).10

        22.    In order to broadly spread the defamation so as to maximize the harm to

 Plaintiffs, Goodman habitually republished his YouTube videos to his subscribers,

 followers and viewers on Twitter, Periscope, Patreon and other social media platforms.

        23.    Goodman, Negron and Holmes’s false and defamatory statements

 (detailed above) have devastated Robert and have destroyed the business of the Earth

 Intelligence Network. Goodman, Negron and Holmes’s statements cast aspersion on

 Plaintiffs’ honesty, prestige or standing in their field of business. Robert’s honor has

 been stolen. His name and reputation have been publicly impugned, across YouTube,

 Twitter, and permanently injured on and through Steemit. Robert has been attacked and

 discredited on every YouTube channel, where he was once popular, to the point that most

 hosts are not inviting Robert back. Those hosts that know Robert well have been forced

 to delete and ban hundreds of disparaging remarks by Goodman, Negron, Holmes and

 their agents and followers, or turn off comments altogether, which has hurt Robert and

 various communities that valued how Robert would engage within the comments section

 after each interview, often answering questions and providing links where the interested



        9
                This video interview with Holmes, published by Goodman on YouTube
 April 30, 2019, includes the following statement: “Susan Lutzke aka Susan Holmes aka
 Queen Tut is a horrible but frequent liar.”

        10
                In July 2019, Goodman was physically present in Richmond, Virginia,
 where he published several insulting videos about Plaintiffs. Goodman continues to this
 day to republish the false and defamatory statements described above.


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 party could learn more. Plaintiffs have suffered both presumed and actual damages,

 including insult, including pain, embarrassment, humiliation, and mental suffering, injury

 to reputation, and out-of-pocket loss. At a financial level, Plaintiffs lost sponsors and

 were forced to refund donations because of Defendants’ false claims of “fraud”,

 “stealing”, “scam”, etc. Donations to the #UNRIG campaign prior to Goodman, Negron

 and Holmes’s defamation totaled over $29,200 per month and were trending higher.

 Because of Goodman, Negron and Holmes’s defamation and insulting words, monthly

 donations to Earth Intelligence Network’s business dwindled to around $200 by

 November 2017.

                          COUNT I – DEFAMATION PER SE

        24.     Plaintiffs restate paragraphs 1 through 23 of this Complaint, and

 incorporate them herein by reference.

        25.     Goodman, Negron and Holmes published and republished to third-parties

 – including, without limitation, CSTT YouTube subscribers, Goodman’s followers on

 Twitter (@csthetruth) and Periscope, CSTT’s Facebook followers, and patrons of CSTT

 on Patreon – numerous false factual statements, which are detailed verbatim above, of or

 concerning Plaintiffs.

        26.     Goodman, Negron and Holmes’s statements are false, inter alia, because

 Plaintiffs did not solicit charitable donations from persons in New York and did not

 commit charity fraud, knowingly or unknowingly, or fraud of any kind on any person,

 ever. The representations on Robert’s website are truthful and accurate. Robert wrote

 the NATO Open Source Handbook. Robert was nominated for the Nobel Peace Prize.

 Plaintiffs did not ever steal or embezzle anything, including donations, from anyone.




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          27.   Goodman’s publications and republications occurred without privilege of

 any kind.

          28.   Negron and Holmes published false and defamatory statements in

 furtherance of a joint scheme with Goodman to defame Plaintiffs. Goodman is liable for

 Negron and Holmes’s tortious acts. Pinkerton v. United States, 328 U.S. 640, 646-647

 (1946); id. McFarland v. McFarland, 684 F.Supp.2d 1073, 1085 (N.D. Iowa 2010); In re

 Orthopedic Bone Screw Products Liability Litigation, 1997 WL 186325, at * 17 (E.D. Pa.

 1997).

          29.   By publishing YouTube videos, tweets, and other statements on the

 Internet and by soliciting comments from third-parties, Goodman, Negron and Holmes

 knew or should have known that their defamatory statements would be republished over

 and over by third-parties to Plaintiffs’ detriment.    Goodman encouraged viewers to

 subscribe to his YouTube channels, watch and share his videos.          Republication of

 Goodman’s scandalous statements by both identified subscribers, users, and patrons, and

 anonymous persons was the natural and probable consequence of Goodman, Negron and

 Holmes’s actions and was actually and/or presumptively authorized Goodman, Negron

 and Holmes. In addition to the original publications, Goodman, Negron and Holmes are

 liable for the republication of the false and defamatory statements by third-parties under

 the doctrine announced by the Supreme Court of Virginia in Weaver v. Home Beneficial

 Co., 199 Va. 196, 200, 98 S.E.2d 687 (1957) (“where the words declared on are

 slanderous per se their repetition by others is the natural and probable result of the

 original slander.”).




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        30.     Goodman, Negron and Holmes’s false statements constitute defamation

 per se. The statements accuse and impute to Plaintiffs the commission of numerous

 felonies and crimes involving moral turpitude and for which Plaintiffs may be punished

 and imprisoned in a state or federal institution. The statements impute to Plaintiffs an

 unfitness to perform the duties of an office or employment for profit, or the want of

 integrity in the discharge of the duties of such office or employment. Goodman, Negron

 and Holmes’s statements also prejudice Plaintiffs in their profession or trade.

        31.     Goodman, Negron and Holmes’s false statements have permanently and

 irreparably harmed Plaintiffs and their reputations.

        32.     Goodman, Negron and Holmes acted with actual malice and reckless

 disregard for the truth for the following reasons:

                a.      Goodman, Negron and Holmes intentionally set out to destroy

 Plaintiffs’ reputation with falsehoods.     The false and defamatory statements in the

 YouTube videos, tweets, and retweets were published in retaliation and reprisal for

 Robert’s decision on June 15, 2017, following the dirty bomb hoax, to have nothing to do

 with Goodman or CSTT.

                b.      Goodman, Negron and Holmes’s statements were knowingly false,

 with not a shred of supporting evidence. Goodman, Negron and Holmes unequivocally

 accused Plaintiffs of committing “felony charity fraud”, even though (i) Goodman,

 Negron and Holmes knew that Goodman had solicited the donations on June 13, 2017,

 and (ii) Goodman, Negron and Holmes did not know the legal elements of a charge of

 felony charity fraud, did not know whether Plaintiffs had ever or could ever commit such

 a crime, and in spite of the fact that no criminal or civil complaint had ever been made by




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 any person, no charges had ever been brought, no arrests made, and no findings had ever

 been made by any Court or Tribunal that Plaintiffs had committed any crime. Moreover,

 from their constant review of Plaintiffs’ websites, Goodman, Negron and Holmes knew

 that the Plaintiffs fulfilled every commitment made to donors. Every donor to #UNRIG,

 including Goodman and Holmes received a certificate as a Founding Citizen:




 Goodman, Negron and Holmes knew and acknowledged in videos that Plaintiffs (a)

 advocated and actively promoted the mission of #UNRIG and communicated with all

 donors; (b) accounted for every penny spent in a budget that was posted online,

 https://www.unrig.net/budget-report/; (c) honored all requests for refunds of donations;

 (d) offered a free #UNRIG store and ideas for do-it-yourself merchandise, such as t-

 shirts, posters, bumper stickers, and other items; (e) acquired and professionally wrapped

 an RV, and began a national tour of the Country in furtherance of the “Summer of Peace”

 campaign; and (f) published and appeared in multiple video interviews to promote the

 #UNRIG campaign. Goodman’s own videos, including UNRIG Cynthia McKinney,

 demonstrate that he actively reviewed Plaintiffs’ websites and learned all about the


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 #UNRIG campaign, including Plaintiffs’ use of an RV as part of the “Summer of Peace”

 tour. Goodman’s videos feature screenshots of Plaintiffs’ websites, e.g.:




 The #UNRIG campaign was fully disclosed in all material respects on the website

 www.unrig.net. Goodman knew that Plaintiffs were engaged in a legitimate full-time

 effort to unrig the system, “to restore integrity and truth to governance, with the informed

 will and wisdom of We the People at its heart”, and “to enjoy a transparent government

 by 2022, that operates with honesty, respecting our planet and the human spirit, so that

 we may create a healthy, prosperous America rooted in truth with peace as our shared

 condition”.   Despite their actual knowledge to the contrary, Goodman, Negron and

 Holmes published false and defamatory statements that #UNRIG was a “scam” and that

 Plaintiffs were defrauding and stealing from donors. Goodman, Negron and Holmes also

 intentionally ignored online evidence, such as General Kernan’s Preface to the NATO

 Open Source Handbook, that proved their statements about Robert were false.




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                   c.    Goodman, Negron and Holmes chose to manufacture and publish

 false and scandalous statements and use unnecessarily strong and violent language,

 disproportionate to the occasion. Indeed, in multiple videos Goodman, Negron and

 Holmes expressed clear and convincing feelings of contempt, ill-will and animus towards

 the Plaintiffs.

                   d.    Goodman, Negron and Holmes made up facts out of whole cloth.

 They did not act in good faith because, in the total absence of evidence, they could not

 have had an honest belief in the truth of their statements about Plaintiffs.

                   e.    Goodman, Negron and Holmes reiterated, repeated and continue to

 republish their false defamatory statements, and enticed others to do so, out of a desire to

 hurt Plaintiffs and to permanently stigmatize and destroy the Plaintiffs.

         33.       As a direct result of Goodman, Negron and Holmes’s defamation,

 Plaintiffs each suffered presumed damages and actual damages, loss or injury to business,

 pain and suffering, emotional distress and trauma, insult, anguish, stress and anxiety,

 public ridicule, humiliation, embarrassment, indignity, injury to reputation, prestige and

 standing, costs, expenses and out-of-pocket loss in the sum of $1,000,000 or such greater

 amount as is determined by the Jury.

                            COUNT II – INSULTING WORDS

         34.       Plaintiffs restate paragraphs 1 through 33 of this Complaint, and

 incorporate them herein by reference.

         35.       Goodman and Holmes’s insulting words, in the context and under the

 circumstances in which they were produced, published, tweeted, written, read and used,




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 tend to violence and breach of the peace. Like any reasonable person, Robert was

 humiliated, disgusted, angered and provoked to violence by the insulting words.

        36.     Goodman and Holmes’s false and slanderous words are fighting words,

 which are actionable under § 8.01-45 of the Virginia Code (1950), as amended.

        37.     As a direct result of Goodman and Holmes’s insulting words, Plaintiffs

 each suffered presumed damages and actual damages, loss or injury to business, pain and

 suffering, emotional distress and trauma, insult, anguish, stress and anxiety, public

 ridicule, humiliation, embarrassment, indignity, injury to reputation, prestige and

 standing, costs, expenses and out-of-pocket loss in the sum of $1,000,000 or such greater

 amount as is determined by the Jury.

                        COUNT III – BUSINESS CONSPIRACY

        38.     Plaintiffs restate paragraphs 1 through 37 of this Complaint, and

 incorporate them herein by reference.

        39.     Beginning in June 2017 and continuing through December 25, 2017,

 Goodman, Negron and Holmes combined, associated, agreed or acted in concert together

 and with others, including Scott Creighton,11 for the express purpose of injuring the Earth

 Intelligence Network and #UNRIG in its business and reputation through the publication

 and republication of false and defamatory statements. In furtherance of the conspiracy

 and preconceived joint plan, Goodman, Negron and Holmes orchestrated a scheme the


        11
                Goodman invited Creighton on his show many times. Creighton, who
 operates the YouTube Channel, “AmericanEveryman”, repeated and republished the
 same false and libelous allegations about fraud, theft and other wrongdoing by Robert.
 At Goodman’s direction, Creighton posted the following words together with one of his
 videos: “I am so sick of snake oil salesman Robert David Steele but he keeps showing up
 on all these alternative left-leaning news programs and not a damn one of these
 interviewers actually interviews the fucker. They’re infomercials for the prick and his
 #UNRIG scam. It makes me sick.”


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 unlawful purpose of which was to defame Robert and #UNRIG and destroy their

 reputations and business. Acting in concert, Goodman, Negron and Holmes utilized

 email, text messages, the Internet and various social media properties, including

 YouTube, Twitter, Facebook, and Patreon, to publish, republish and spread the

 defamation and character assassination.

        40.     Goodman, Negron and Holmes acted intentionally, purposefully, without

 lawful justification, and with the express knowledge that they were injuring the #UNRIG

 campaign and Earth Intelligence Network.

        41.     Goodman, Negron and Holmes’s actions constitute a business conspiracy

 in violation of § 18.2-499 of the Code.

        42.     As a direct result of Goodman, Negron and Holmes’s misconduct, Earth

 Intelligence Network suffered damage and loss, including, but not limited to, injury to its

 business, trade and professional reputation, loss of prestige and standing, attorney’s fees,

 court costs, and other damages in the sum of $1,000,000.00 or such greater amount as is

 determined by the Jury.

        43.     In accordance with § 18.2-500 of the Virginia Code, Earth Intelligence

 Network seeks three-fold the damages by it sustained as determined by the Jury.

                    COUNT IV – COMMON LAW CONSPIRACY

        44.     Plaintiffs restate paragraphs 1 through 43 of this Complaint, and

 incorporate them herein by reference.

        45.     Goodman, Negron and Holmes’s actions, detailed above, constitute a

 conspiracy at common law.




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        46.     As a direct result of Goodman, Negron and Holmes’s willful misconduct,

 Plaintiffs suffered presumed and actual damage and loss, including, but not limited to,

 injury to business, property loss, injury to professional and personal reputations, loss of

 prestige and standing, insult, humiliation, embarrassment, pain and mental suffering,

 court costs, and other damages in the sum of $1,000,000.00 or such greater amount as is

 determined by the Jury.

    COUNT V – UNAUTHORIZED USE OF NAME AND PICTURE (§ 8.01-40)

        47.     Plaintiffs restate paragraphs 1 through 46 of this Complaint, and

 incorporate them herein by reference.

        48.     Between 2017 and the present, Goodman knowingly used Robert’s name

 and picture without having first obtained Robert’s written consent for advertising

 purposes and for purposes of trade. Throughout his video productions, Goodman used

 Robert’s name and picture to generate business for CSTT (i.e., merchandise sales,

 donations, increased subscribership, and monetization of CSTT’s YouTube Channel). In

 each video, Goodman solicits financial contributions and subscriptions.

        49.     Robert was never asked and never consented to Goodman’s use of his

 name or picture for any reason.

        50.     On November 27, 2017, for instance, Goodman published a video on

 YouTube entitled, “Deep State Dunces Attack George Webb and CSTT – Bitcoin

 Challenge Response”.       The video opens with the following insulting picture and

 words:12


        12
              The other persons depicted in the picture are Manuel Chavez (the pig) and
 Dave Acton (in the straight-jacket). Dave Acton a/k/a David Sweigert is the brother of
 George Webb.


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 In this video, Goodman revealed that “Red Bubble13 is the website that all the

 Crowdsource the Truth merchandise is available on”. Goodman went on a verbal tirade

 in which he claimed that it was his First Amendment right to “express my opinion that a

 Robber Who Steals is a [sic] IDIOT, such a dummy, such a loser, and you know what,

 losers lose, that’s what they do.”   The insulting Deep State Dunces video shows

 Goodman and CSTT are selling t-shirts using Robert’s picture:




        13
               “Red Bubble” is a website that advertises for sale products that are
 designed by “independent artists”. CSTT advertises and sells its merchandise through
 Red Bubble.


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 Goodman and CSTT were (and are) also selling coffee mugs with Robert’s picture on

 them, e.g.:




 [https://www.redbubble.com/i/mug/Unrig-on-Fire-by-csthetruth/28266904.9Q0AD].

        51.    Goodman knowingly misappropriated Robert’s name and picture.          He

 created the provocative memes and insulting designs for the t-shirts and mugs. He

 supplied descriptive language to be included on the Redbubble website (e.g., the phrase


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 “The fraudulent efforts of the Robber David who Steals are going up in flames”). He

 supplied search terms and instructed Redbubble to code its website to tag Robert’s name,

 https://www.redbubble.com/shop/robert+david+steele;      https://www.redbubble.com/i/t-

 shirt/Unrig-on-Fire-by-csthetruth/28266904.0S66D.

        52.    Goodman’s misappropriation continues to this very day.          Goodman

 continues to sell merchandise featuring Robert’s name and picture.

        53.    Goodman knowingly used Robert’s name and picture in violation of §

 8.01-40 of the Code.

        54.    Robert suffered damages resulting from Goodman’s unlawful use of

 Robert’s name and picture. He seeks disgorgement of all income received by Goodman

 from or as a result of Goodman’s unlawful use, punitive damages in the maximum

 amount allowed by law, and costs.

        55.    In addition to money damages, Robert requests the Court to permanently

 enjoin and order Goodman to (a) cease and desist from any further use of Robert’s name

 and/or picture for advertising or trade purposes, (b) remove or cause to be removed from

 the Internet and social media, including YouTube, Twitter, and Patreon, all merchandise

 and products, videos, tweets, retweets, blogs and posts that contain Robert’s name and

 picture.

        56.    Monetary damages will not provide an adequate remedy for Robert

 because, in the event Goodman continues to use Robert’s name and picture in trade,

 Robert would be required to bring a succession of lawsuits to deter Goodman from

 continuing to violate the law.      Monetary damages may not effectively deter either

 “judgment proof” or wealthy defendants.




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        57.     In light of the balance of the hardships between Robert and Goodman,

 remedy in equity is warranted because Goodman remains able to produce videos and sell

 merchandise that does not contain Robert’s name or picture.

        58.     Public interest would be served by an injunction narrowly tailored to

 prohibit the use of Robert’s name, picture or likeness in videos and on merchandise sold

 by Goodman or CSTT. Such an injunction protects the important interest in a person’s

 name and picture and does not infringe on any right or interest of Goodman.

        59.     Because Goodman has engaged in repeated unlawful acts and his use of

 Robert’s name and picture threatens to continue in the future, Goodman should be

 permanently restrained and enjoined from any further use of Robert’s name or picture.



        Plaintiffs allege the foregoing based upon personal knowledge, public statements

 of others, and records in their possession. Plaintiffs believe that substantial additional

 evidentiary support, which is in the exclusive possession of Goodman, Negron, Holmes

 and their agents and other third-parties, will exist for the allegations and claims set forth

 above after a reasonable opportunity for discovery.

        Plaintiffs reserve the right to amend this Complaint upon discovery of additional

 instances of Goodman’s defamation and wrongdoing.



                    CONCLUSION AND REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request the Court to enter Judgment against

 Goodman as follows:

        A.      Compensatory damages in the sum of $1,000,000.00;




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        B.      Three-fold Damages in accordance with § 18.2-500 of the Virginia Code

 in the total sum of $3,000,000.00;

        C.      Punitive damages in the amount of $350,000.00 or the maximum amount

 allowed by law;

        D.      Prejudgment interest at the maximum rate allowed by law from;

        E.      Postjudgment interest at the rate of six percent (6%) per annum until paid;

        F.      Attorney’s Fees and Costs;

        G.      Such other relief as is just and proper.



                           TRIAL BY JURY IS DEMANDED



 DATED:         September 28, 2020



                               ROBERT DAVID STEELE
                               EARTH INTELLIGENCE NETWORK



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